
983 So.2d 1288 (2008)
STATE ex rel. Thomas Louis PHILLIPS
v.
STATE of Louisiana.
No. 2008-KH-1055.
Supreme Court of Louisiana.
June 27, 2008.
In re Phillips, Thomas Louis;Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. C, No. 245-434.
Relator represents that the district court has failed to act timely on a motion for production of documents filed on or about March 5, 2008. If relator's representation is correct, the district court is ordered to consider and act on the motion. If relator's representation is incorrect, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
